Case 4:24-cv-03786 Document 38-3

Filed on 04/01/25 in TXSD + Pageiof8

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION

NATIONAL CHICKEN COUNCIL, ef ai.,
Plaintiffs,

VS.

BROOKE ROLLINS, in her official capacity
as SECRETARY OF AGRICULTURE, e7 ai.,

Defendants,

and

RANCHERS CATTLEMEN ACTION
LEGAL FUND UNITED STOCKGROWERS
OF AMERICA, WESTERN
ORGANIZATION OF RESOURCE
COUNCILS, ALABAMA CONTRACT
POULTRY GROWERS ASSOCIATION,
AND LATINO FARMERS AND
RANCHERS INTERNATIONAL,

Proposed Defendant-
Intervenors.

No. 4:24-cv-03786

Judge Andrew Hanen

DECLARATION OF JONATHAN BUTTRAM

I, JONATHAN BUTTRAM, am over the age of 18, have personal knowledge of the facts set
forth herein, and, if called as a witness, could and would competently testify to the following:
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1 I am the President of the Alabama Contract Poultry Growers Association (the
“Association”). I have held this position since 2007. ’ve been a member of the Association and
have served on its Board of Directors since 2002.

2. I make this declaration in support of the Association’s and other Farmer and
Rancher Organizations’ motion to intervene in this case, which challenges the United States
Department of Agriculture’s (“USDA”) Final Rule issued March 6, 2024, entitled “Inclusive
Competition and Market Integrity Under the Packers and Stockyard Act” (the “Rule”.

3. The Association is a membership-based, 501(c)(5) tax-exempt Agricultural
Marketing Association organized under the laws of the state of Alabama. We are located in
Geraldine, Alabama.

4. The Association was founded in 1992 by 30 poultry growers who banded together
in the hopes of securing better treatment and fairer contracts with the chicken companies. The
Association’s mission is to make the poultry industry stronger, more efficient, and more
economical by representing the interests of poultry producers throughout the state. We provide
certain benefits to our members, including discounted rates for the propane that growers need to
power their poultry operations. In the past, we have also advised members on contract
negotiation and enforcement of their rights.

5, We no longer work with individual growers on their contracts, however, because
of the intense retaliation they’ ve experienced just for being part of the Association. The founding
members were destroyed by the chicken companies, who took away their contracts because of
their attempt to organize. Leaders of the Association have been consistently retaliated against
over the years by, for example, losing their contracts as soon as they agreed to fill a Board of

Directors position with the Association, which is why we no longer ask active poultry growers to
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serve on the Board, only former growers like me who aren’t as exposed to retaliation. These
relentless attacks on the Association have succeeded in whittling down its membership. While
we once were 800 members strong, the Association now represents 347 voluntary, dues-paying,
voting members, all of whom are active poultry growers. To keep their contracts, our members
must keep the fact that they are part of the Association secret from the companies they work for.
6. In addition to the gas cooperative we run on behalf of our members, the main way
we now represent their interests is by speaking out publicly about the abuse that contract poultry
growers suffer, and advocating for better treatment. On behalf of the Association, I meet with
lawmakers in Washington D.C. about securing stronger protections for chicken growers. I have
brought a lawsuit challenging USDA’s rescission of protective Packers and Stockyard Act
regulations that benefited our membership. Lawsuit Challenges Cancellation of Farmer Fair

Practice Rule, FOX NEWS (Dec. 14, 2017), https://www.foxbusiness.com/markets/lawsuit-

challenges-cancellation-of-farmer-fair-practice-rule. I also appeared in the documentary

Supersize Me 2: Holy Chicken! to raise public awareness about our situation. This business is so
hard on growers, who are constantly teetering on the edge of financial ruin, that I’ve also run a
suicide hotline in the past to try and help our members and others manage the financial,
emotional, and mental pressure they’re under.

i The poultry industry is dominated by just a few powerful chicken companies,
including Koch Foods, Wayne Sanderson, Tyson, and Pilgrim’s Pride, all of which operate in
Alabama. They have set up a system where the companies own all of the assets—the chickens,
the feed, the medicine, and the processing equipment—and the growers contracted to raise their

chickens own all of the debt and financial risk.
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8. Before a grower can work with a chicken company, they must first take out
hundreds of thousands or even millions of dollars in loans to build poultry barns that meet the
company’s exact specifications. The chicken companies often demand growers make expensive
and unnecessary upgrades to their operations after this initial investment, which burdens them
with even more debt.

9. To pay off these loans, growers work on “take it or leave it” contracts that
company representatives pressure them to sign on the spot. I’ve come to learn that these
contracts are not worth the paper they’re written on. These are flock-to-flock contracts—
meaning they only cover a single flock of chickens at a time—which the chicken company is
under no obligation to renew, providing no guarantee of regular or continuing income. The
contract dictates how poultry growers are paid, through a “tournament” ranking system where a
grower’s pay is determined by how well he or she performs against other growers. Growers that
are able to raise birds most efficiently (i.e., grow the biggest birds with the inputs they’re given)
receive bonuses on top of a base rate, while growers that don’t perform as well get their pay
docked below the base rate.

10. The chicken companies use a data analytics system called Agri Stats to share
information about grower pay and suppress grower pay rates all over the country. Justice
Department Sues Agri Stats for Operating Extensive Information Exchanges Among Meat
Processors, DEPARTMENT OF JUSTICE (Sep. 28, 2023),

https://www.justice. gov/archives/opa/pr/justice-department-sues-agri-stats-operating-extensive-

information-exchanges-among-meat.

11. As a former chicken grower of over 45 years, who has raised approximately 50

million chickens in my career, I know firsthand how chicken companies manipulate this contract
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system to their advantage and routinely subject growers to unfair, deceptive, and retaliatory
practices. Before the chicken companies stopped contracting with me in 2016 for being too
outspoken, I was a regular victim of their abuse. A field representative once described my
relationship with the company in this way: “If I say jump, you say how high.” In other words,
you are at the mercy of the company and if you do or say anything that they dislike, they’ll make
you pay for it.

12. Chicken companies often retaliate against growers by withholding a flock
placement from them. For example, I experienced this once for having the nerve to “talk back” to
a company representative. The field representative came out to my family’s farm and started
messing with the controls on our poultry house ventilation system. Field representatives have
done this to me in the past, on one occasion causing me to lose two flocks of chickens because
they ended up shorting out my electricity. The company wouldn’t admit it was their fault and I
ended up losing $40,000 on my dead flocks. That experience ultimately forced me to shut those
farms down because we couldn’t afford any more losses. With that memory weighing on me, I
told the representative to stop changing my ventilation settings and asked him to leave. He then
threatened me by saying “they’Il never give you another flock.” After that, Koch Foods—the
company my family was contracting with at the time—withheld a flock from us for 8 weeks.
Withholding a flock for that long would bankrupt most growers—they wouldn’t be able to pay
for groceries much less make their loan payments. The only reason I was able to hang on was
because I had done my own upgrades to my chicken houses, so didn’t have the same kind of debt
that most growers have.

13. The chicken companies can also manipulate the ranking system itself in a number

of ways to ensure that the growers they dislike end up on the bottom. For instance, the chicken
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company is responsible for delivering chicks to the growers, and the quality of the chick is an
important factor in determining the final weight of the bird. Laying hens that are less than 25
weeks old have small chicks that don’t grow well, and chicks coming from older hens also
perform worse. The chicken companies use this disparity in chick quality to favor or punish
growers as they see fit by giving the best chicks to their favored growers. I am also aware of
situations in which chicks have died while in route to the grower from overheating in the
delivery truck. When this has happened, the company instructed the driver to deliver them
anyway and blame the deaths on the grower.

14. The chicken companies can also hurt your place in the tournament rankings by
interfering with feed deliveries. Just a few days ago I saw two giant piles of chicken feed
dumped along the side of the road. I’ve also witnessed feed delivery drivers trying to sell off part
of the delivery for a higher price before it gets to its intended recipient. Interruptions in feed
deliveries can be disastrous for a grower, and can result in sick or dead birds.

15. I’ve also known chicken companies to engage in downright fraud against growers,
including myself. In 2009, I caught my company manipulating the scales they used to weigh my
birds, cheating me out of thousands of dollars. I was a strong performer that raised healthy
chickens, yet I was consistently finding myself at the bottom of rankings. This made no sense to
me, and I asked the company if I could witness my birds getting weighed (which was my right
per our contract). They refused. I ended up setting a camera up several hundred yards away from
the scales on public property across the street from the facility to see what was going on.

16. When birds are trucked to the processing facility for weighing, the entire truck is
driven onto the scale. The company then subtracts the known truck weight to get the flock

weight. After weighing, the chicken cages are then removed from the truck with a forklift-like
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device. I have video of them using the forklift to lift up the back of the truck during the weighing
of my birds, so that it registered as much lighter than it really was. Generally, growers have no
way of knowing whether they are subject to these fraudulent weighing practices. They just get a
ticket in the mail telling them how much they’re getting for their flock, without any way to
contest the company’s decision.

17. I am not alone in these experiences. | regularly speak with members of the
Association that report experiencing these and other abusive practices, which are common across
the poultry industry. But it’s nearly impossible to stand up for your rights when you’re up against
such powerful corporations, and the price you pay for speaking out can be financial disaster. For
instance, several years ago, I asked an Association member to accompany me on a trip to
Washington D.C. to speak with a congressional representative about these issues. The chicken
company found out and told his wife that he had no business going to D.C. This grower then
spent years on the bottom of his local tournament rankings after that. We thought it was our right
to talk to our representatives. Clearly, the chicken companies think otherwise. Were our
members to come forward personally in this legal proceeding, they would almost certainly be
subject to the same kind of retaliation, or worse.

18. The livelihoods and economic opportunities of the Association’s members depend
on being able to run their businesses free of the discrimination, retaliation, and deception
prohibited by the Rule and upon effective enforcement of the Packers and Stockyards Act. The
Rule at issue in this case provides critical safeguards against the retaliatory and deceptive
practices our members regularly face. It spells out exactly what conduct is illegal under the
Packers and Stockyards Act—including practices that chicken companies have been engaging in

for years—and therefore makes it easier for a poultry grower to benefit from the law’s
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protections. [t also prohibits chicken companies from discriminating against growers based on
their participation in a growers’ association, which direct ly protects and helps advance the
Association’s efforts to represent our members’ interests,

19. The Association and its members would suffer significant harm if the Rule was
vacated as a result of this litigation. The Association strongly believes the only way it can
adequately protect its members’ interests that are at stake in this action is by intervening in

defense of the Rule.

I declare under penalty of perjury that the foregoing is true and correct.

Jonathan Buttram

Executed on March 31, 2025 in Geraldine, AL

